                                                                                  Case 2:22-cv-01254-APG-VCF Document 9 Filed 12/02/22 Page 1 of 2


                                                                              1   TYLER J. WATSON, ESQ.
                                                                                  Nevada Bar No. 11735
                                                                              2   MICHAEL R. ESPOSITO, ESQ.
                                                                                  Nevada Bar No. 13482
                                                                              3
                                                                                  KRAVITZ SCHNITZER JOHNSON &
                                                                              4   WATSON, CHTD.
                                                                                  8985 South Eastern Avenue, Suite 200
                                                                              5   Las Vegas, Nevada 89123
                                                                                  Telephone: (702) 362-6666
                                                                              6   Facsimile: (702) 362-2203
                                                                                  twatson@ksjattorneys.com
                                                                              7
                                                                                  mesposito@ksjattorneys.com
                                                                              8   Attorneys for Plaintiff

                                                                              9                              UNITED STATES DISTRICT COURT

                                                                             10
KRAVITZ SCHNITZER JOHNSON & WATSON, CHTD,




                                                                                                                      DISTRICT OF NEVADA
                                                                             11
                                                                                  WESTERN MUTUAL INSURANCE                           Case No.: 2:22-cv-01254
                                                                             12   COMPANY, a Wisconsin corporation,
                                                                             13
                                                                                                         Plaintiff,
                                            8985 S. Eastern Ave., Ste. 200




                                                                                                                                         STIPULATION AND ORDER TO
                                              Las Vegas, Nevada 89123




                                                                             14                                                           DISMISS WITH PREJUDICE
                                                                                  vs.
                                                   (702) 362-6666




                                                                             15
                                                                                  JOSE DIAZ, an individual; DIEGO DIAZ, an
                                                                             16   individual; THEA MASSEY, an individual;
                                                                             17   DOES I through X, inclusive, and ROE
                                                                                  CORPORATIONS I through X, inclusive,
                                                                             18
                                                                                                         Defendants.
                                                                             19
                                                                             20

                                                                             21
                                                                                         COMES NOW, Plaintiff, WESTERN MUTUAL INSURANCE COMPANY, by and
                                                                             22
                                                                                  through its counsel of record, Tyler J. Watson, Esq. of KRAVITZ SCHNITZER JOHNSON &
                                                                             23
                                                                                  WATSON, CHTD., and Defendant, THEA MASSEY, by and through her counsel of record,
                                                                             24
                                                                                  Amber N. King, Esq. of BERNSTEIN & POISSON and hereby stipulate to dismiss all of
                                                                             25
                                                                                  Plaintiff’s claims against Defendants in the above-referenced matter with prejudice.
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                                                                                  Case 2:22-cv-01254-APG-VCF Document 9 Filed 12/02/22 Page 2 of 2


                                                                              1          Each party shall bear its own costs and attorneys’ fees.

                                                                              2   DATED this 1st day of December, 2022.                DATED this 1st day of December, 2022.

                                                                              3   KRAVITZ SCHNITZER JOHNSON &                          BERNSTEIN & POISSON
                                                                                  WATSON, CHTD.
                                                                              4
                                                                                  /s/ Tyler J. Watson, Esq.                            /s/ Amber N. King, Esq.
                                                                              5
                                                                                  TYLER J. WATSON, ESQ.                                AMBER N. KING, ESQ.
                                                                              6   Nevada Bar No. 11735                                 Nevada Bar No. 14070
                                                                                  8985 South Eastern Avenue, Ste. 200                  320 S. Jones Blvd.
                                                                              7   Las Vegas, Nevada 89123                              Las Vegas, Nevada 89107
                                                                                  Attorneys for Plaintiff                              Attorneys for Defendant Thea Massey
                                                                              8

                                                                              9
                                                                                         IT IS SO ORDERED.
                                                                             10
KRAVITZ SCHNITZER JOHNSON & WATSON, CHTD,




                                                                             11                                                ________________________________________
                                                                                                                               U.S. DISTRICT COURT JUDGE
                                                                             12
                                                                                                                              DATED: December 2, 2022
                                                                             13
                                            8985 S. Eastern Ave., Ste. 200
                                              Las Vegas, Nevada 89123




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                                                   (702) 362-6666




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